                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                   3:14-CR-00082-RJC
 USA                                               )
                                                   )
     v.                                            )                  ORDER
                                                   )
 MARCO FALLAS HERNANDEZ (8)                        )
                                                   )



          THIS MATTER is before the Court on defense counsel’s Motion for Special Admission

to Practice in this District, pursuant to Local Civil Rule 83.1(B)(2). (Doc. No. 18).

          The motion recites that counsel is an experienced member in good standing of the Florida

Bar, is admitted to practice before the United States Court of Appeals for the Fourth Circuit and

others, and has been previously granted pro hac vice admission to practice in this District and

others. (Id. at 2-3). Local Rule 83.1(B)(1) provides pro hac vice admission for attorneys who are

members of good standing of the bar of a federal court or the highest court of a state with the

association of local counsel. Counsel clearly qualifies for pro hac vice admission. Special

admission may be granted under the rule to avoid associating local counsel. L. Cv. R. 83.1(B)(2).

Here, with local counsel residing and practicing in Ft. Lauderdale, Florida, with no North

Carolina office, and one prior pro hac vice admission in this District, (Doc. No. 18: Motion at 2-

3), the Court finds that the association of local counsel will aid the administration of justice in

this matter.




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       IT IS, THEREFORE, ORDERED that counsel’s motion for special admission, (Doc.

No. 18) is DENIED. However, counsel may appear pro hac vice upon satisfying the

requirements in Local Rule 83.1(C).


                                                    Signed: July 31, 2015




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